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 DANIEL PEZZA                                                                    INVOICE
 PO Box 432
 Odessa, Fl 33556

                                                                                INVOICE #13200
                                                                                 DATE: 8/6/2020


 TO:
 Thomas Bacon Law Office
 644 N MC Donald Street
 Mount Dora, FL 32757



 PROPERTY ADDRESS:
 Econo Lodge Cuthbert GA
 142 GA-50 E, Cuthbert, GA 39840




8.6.20 Review www.expedia.com and analyze whether it complies with the requirements of 28
C.F.R. 36.302(e), including every page, subpage and link. Take screenshots of every page, sub
page and link. Analysis included whether website; identifies and allows for booking of accessible
rooms, gives information about whether designated accessible rooms and other features at the
hotel are accessible, gives a list of amenities and features at hotel.     (0.10)


8.6.20 Review www.hotels.com and analyze whether it complies with the requirements of 28
C.F.R. 36.302(e), including every page, subpage and link. Take screenshots of every page, sub
page and link. Analysis included whether website; identifies and allows for booking of accessible
rooms, gives information about whether designated accessible rooms and other features at the
hotel are accessible, gives a list of amenities and features at hotel.     (0.10)


8.6.20 Review www.orbitz.com and analyze whether it complies with the requirements of 28
C.F.R. 36.302(e), including every page, subpage and link. Take screenshots of every page, sub
page and link. Analysis included whether website; identifies and allows for booking of accessible
rooms, gives information about whether designated accessible rooms and other features at the
hotel are accessible, gives a list of amenities and features at hotel.     (0.10)


8.6.20 Review www.priceline.com and analyze whether it complies with the requirements of 28
C.F.R. 36.302(e), including every page, subpage and link. Take screenshots of every page, sub
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page and link. Analysis included whether website; identifies and allows for booking of accessible
rooms, gives information about whether designated accessible rooms and other features at the
hotel are accessible, gives a list of amenities and features at hotel.     (0.10)


8.6.20 Review www.agoda.com and analyze whether it complies with the requirements of 28
C.F.R. 36.302(e), including every page, subpage and link. Take screenshots of every page, sub
page and link. Analysis included whether website; identifies and allows for booking of accessible
rooms, gives information about whether designated accessible rooms and other features at the
hotel are accessible, gives a list of amenities and features at hotel.     (0.10)


8.6.20 Review www.trip.com and analyze whether it complies with the requirements of 28
C.F.R. 36.302(e), including every page, subpage and link. Take screenshots of every page, sub
page and link. Analysis included whether website; identifies and allows for booking of accessible
rooms, gives information about whether designated accessible rooms and other features at the
hotel are accessible, gives a list of amenities and features at hotel.     (0.10)


8.6.20 Review www.cheaptickets.com and analyze whether it complies with the requirements
of 28 C.F.R. 36.302(e), including every page, subpage and link. Take screenshots of every page,
sub page and link. Analysis included whether website; identifies and allows for booking of
accessible rooms, gives information about whether designated accessible rooms and other
features at the hotel are accessible, gives a list of amenities and features at hotel.   (0.10)


8.6.20 Review www.travelocity.com and analyze whether it complies with the requirements of
28 C.F.R. 36.302(e), including every page, subpage and link. Take screenshots of every page,
sub page and link. Analysis included whether website; identifies and allows for booking of
accessible rooms, gives information about whether designated accessible rooms and other
features at the hotel are accessible, gives a list of amenities and features at hotel.   (0.10)


8.6.20 Review www.reservations.com and analyze whether it complies with the requirements of
28 C.F.R. 36.302(e), including every page, subpage and link. Take screenshots of every page,
sub page and link. Analysis included whether website; identifies and allows for booking of
accessible rooms, gives information about whether designated accessible rooms and other
features at the hotel are accessible, gives a list of amenities and features at hotel.   (0.10)


8.6.20 Review www.reservationcounter.com and analyze whether it complies with the
requirements of 28 C.F.R. 36.302(e), including every page, subpage and link. Take screenshots
of every page, sub page and link. Analysis included whether website; identifies and allows for
booking of accessible rooms, gives information about whether designated accessible rooms and
other features at the hotel are accessible, gives a list of amenities and features at hotel.
(0.10)
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8.6.20 Review www.getaroom.com and analyze whether it complies with the requirements of
28 C.F.R. 36.302(e), including every page, subpage and link. Take screenshots of every page,
sub page and link. Analysis included whether website; identifies and allows for booking of
accessible rooms, gives information about whether designated accessible rooms and other
features at the hotel are accessible, gives a list of amenities and features at hotel.   (0.10)


8.6.20 Review www.lol.travel/us and analyze whether it complies with the requirements of 28
C.F.R. 36.302(e), including every page, subpage and link. Take screenshots of every page, sub
page and link. Analysis included whether website; identifies and allows for booking of accessible
rooms, gives information about whether designated accessible rooms and other features at the
hotel are accessible, gives a list of amenities and features at hotel.     (0.10)


8.6.20 Perform internet search to ascertain the identity of all websites utilized by the hotel for
online reservations system. (0.50)


8.6.20 Draft a report based on screenshots and findings. (1.25)


8.6.20 Correspondence to Attorney Bacon. (0.30)




                                                                          3.25 HRS @ $200.00/HR
                                                                                 TOTAL $650.00
